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                       UNITED STATES DISTRICT COURT
                   IN THE EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


VEDIA L. JONES,

      Plaintiff,                            Case No. 2:15-cv-13165-VAR-EAS
v.

CREDIT ACCEPTANCE
CORPORATION,

      Defendant/Third-Party Plaintiff,

v.

KALEAYAH JACKSON,

     Third-Party Defendant.
__________________________________________________________________

 CREDIT ACCEPTANCE CORPORATION’S ANSWER, AFFIRMATIVE
          DEFENSES AND THIRD-PARTY COMPLAINT

      Defendant and Third-Party Plaintiff Credit Acceptance Corporation (“Credit

Acceptance”), through counsel, answers the Complaint of Plaintiff Vedia L. Jones

(“Plaintiff”) as follows:

                               INTRODUCTION

      1.     Credit Acceptance denies that it “harassed [Plaintiff] for months with

collection robo-calls.” Credit Acceptance lacks knowledge or information
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sufficient to form a belief as to the truth of the remaining allegations in paragraph

1, and therefore the allegations are denied as untrue.

      2.     Denied as untrue.

      3.     The allegations in paragraph 3 state conclusions of law to which no

response is required. To the extent these allegations constitute allegations of

wrongdoing by Credit Acceptance, Credit Acceptance denies as untrue.

                                 JURISDICTION

      4.     The allegations in paragraph 4 state conclusions of law to which no

response is required. To the extent these allegations constitute allegations of

wrongdoing by Credit Acceptance, Credit Acceptance denies as untrue.

      5.     Credit Acceptance denies as untrue that it violated the Telephone

Consumer Protection Act (“TCPA”), invaded Plaintiff’s personal privacy, or

otherwise acted “illegal[ly].” The remaining allegations in paragraph 5 state

conclusions of law to which no response is required. To the extent these allegations

constitute allegations of wrongdoing by Credit Acceptance, Credit Acceptance

denies as untrue.

      6.     The allegations in paragraph 6 state conclusions of law to which no

response is required. To the extent these allegations constitute allegations of

wrongdoing by Credit Acceptance, Credit Acceptance denies as untrue.
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                                     PARTIES

      7.     Credit Acceptance lacks knowledge or information sufficient to form

a belief as to the truth of the allegations in paragraph 7, and therefore the

allegations are denied as untrue.

      8.     Credit Acceptance admits that it is a Michigan business entity with a

registered agent in East Lansing, Michigan. Credit Acceptance lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in

paragraph 8, and therefore the allegations are denied as untrue.

                                      VENUE

      9.     The allegations in paragraph 9 state conclusions of law to which no

response is required. To the extent these allegations constitute allegations of

wrongdoing by Credit Acceptance, Credit Acceptance denies as untrue.

      10.    The allegations in paragraph 10 state conclusions of law to which no

response is required. To the extent these allegations constitute allegations of

wrongdoing by Credit Acceptance, Credit Acceptance denies as untrue.

                           GENERAL ALLEGATIONS

      11.    Credit Acceptance admits that Kaleayah Jackson owes Credit

Acceptance pursuant to the terms of a Retail Installment Contract, and Credit

Acceptance attempted to collect the amount owed from Ms. Jackson.
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      12.    Credit Acceptance admits that Kaleayah Jackson purchased a 2007

Chevrolet Equinox from Legacy Motors, Inc. and respectfully refers the Court to

the individually negotiated Retail Installment Contract for the true and accurate

terms thereof.

      13.    Credit Acceptance lacks knowledge or information sufficient to form

a belief as to the truth of the allegations in paragraph 13, and therefore the

allegations are denied as untrue.

      14.    Credit Acceptance lacks knowledge or information sufficient to form

a belief as to the truth of the allegations in paragraph 14, and therefore the

allegations are denied as untrue.

      15.    Credit Acceptance lacks knowledge or information sufficient to form

a belief as to the truth of the allegations in paragraph 15, and therefore the

allegations are denied as untrue.

      16.    Credit Acceptance lacks knowledge or information sufficient to form

a belief as to the truth of the allegations in paragraph 16, and therefore the

allegations are denied as untrue.

      17.    Denied as untrue.

      18.    Denied as untrue.
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      19.    Credit Acceptance lacks knowledge or information sufficient to form

a belief as to the truth of the allegations in paragraph 19, and therefore the

allegations are denied as untrue.

                Telephone Consumer Protection Act (“TCPA”)

      20.    Credit Acceptance lacks knowledge or information sufficient to form

a belief as to the truth of the allegation that Plaintiff is a subscriber to cellular

telephone services in the United States, and therefore the allegation is denied as

untrue. The remaining allegations in paragraph 20 state conclusions of law to

which no response is required.        To the extent these allegations constitute

allegations of wrongdoing by Credit Acceptance, Credit Acceptance denies as

untrue.

      21.    The allegations in paragraph 21 state conclusions of law to which no

response is required. To the extent these allegations constitute allegations of

wrongdoing by Credit Acceptance, Credit Acceptance denies as untrue.

      22.    Denied as untrue.

      23.    Denied as untrue.

      24.    Denied as untrue.

      25.    Credit Acceptance lacks knowledge or information sufficient to form

a belief as to the truth of the allegations in paragraph 25, and therefore the

allegations are denied as untrue.
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      26.     Denied as untrue.

                                  TRIAL BY JURY

      27.     The allegations in paragraph 27 state conclusions of law to which no

response is required. To the extent these allegations constitute allegations of

wrongdoing by Credit Acceptance, Credit Acceptance denies as untrue.




COUNT I – VIOLATION OF THE FEDERAL TELEPHONE CONSUMER
                     PROTECTION ACT

      28.     Credit Acceptance incorporates by reference its prior answers and

objections.

      29.     Denied as untrue.

      30.     Denied as untrue.

      31.     Denied as untrue.

      32.     Denied as untrue.

      33.     Denied as untrue.

      34.     Denied as untrue.

      35.     Denied as untrue.


                           AFFIRMATIVE DEFENSES
      1.      Plaintiff’s claims against Credit Acceptance are barred by her failure

to mitigate damages.
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      2.     Plaintiff’s claims against Credit Acceptance are barred by her failure

to state a claim upon which relief can be granted.

      3.     Plaintiff’s claims are barred to the extent that Credit Acceptance had

the prior express consent to call the cellular telephone of Plaintiff. Alternatively,

Credit Acceptance had obtained consent from persons authorized to give consent

on behalf of Plaintiff.

      4.     Plaintiff’s claims against Credit Acceptance are barred because she

has not sustained any actual damages or injury.

      5.     Plaintiff’s claims against Credit Acceptance are barred by estoppel,

laches, waiver, and the doctrine of unclean hands.

      6.     Plaintiff’s claims against Credit Acceptance are barred because Credit

Acceptance acted in good faith at all relevant times.

      7.     Plaintiff’s claims against Credit Acceptance for willful or intentional

statutory damages are barred to the extent that any calls that were made by Credit

Acceptance to Plaintiff’s cellular telephone, such calls were inadvertent, as Credit

Acceptance did not know that any calls were in violation of the TCPA for the

reasons more fully stated in the Third-Party Complaint.

      8.     Credit Acceptance reserves the right to raise additional affirmative

defenses as they become known to it through the course of discovery.
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                            THIRD-PARTY COMPLAINT

      For its Third-Party Complaint against Third-Party Defendant Kaleayah

Jackson (“Third-Party Defendant”), Credit Acceptance states:

      1.       Third-Party Defendant is an adult individual residing in Wayne

County, Michigan. This Court has jurisdiction over Third-Party Defendant.

      2.       On or about April 4, 2014, Legacy Motors, Inc. and Third-Party

Defendant entered into a Retail Installment Contract (the “RIC”) to purchase and

finance the purchase of a 2007 Chevrolet Equinox. 1

      3.       The RIC was assigned to Credit Acceptance.

      4.       Subsequently, Third-Party Defendant defaulted in making her

monthly-installment payments on the RIC.

      5.       During an inbound telephone call from Third-Party Defendant to

Credit Acceptance, Third-Party Defendant voluntarily provided Credit Acceptance

with Plaintiff’s alleged (313) 957-XXXX telephone number as a number at which

she could be reached and to which Credit Acceptance could place calls.

                           COUNT ONE – Indemnification

      6.       Credit Acceptance re-alleges and incorporates by reference each of

the previous paragraphs.



      1
           Upon information and belief, Plaintiff and Third-Party Defendant have a copy of
the RIC.
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      7.    The FCC interprets “called party” for the purposes of determining

who can express consent under the TCPA as either the “current subscriber or

customary user” of a telephone number, including “individuals who might not be

the subscriber, but who, due to their relationship to the subscriber, are the

number’s customary user and can provide prior express consent.” 2015 FCC Order,

15-72 FCC Rcd. at 40–41, ¶¶ 73–75.

      8.    Third-Party Defendant agreed, warranted, promised and represented

that she could be legally contacted as a customary user of the (313) 957-XXXX

telephone number that she provided Credit Acceptance.

      9.    Credit Acceptance relied upon these representations in attempting to

contact Third-Party Defendant.

      10.   Credit Acceptance’s reliance was reasonable, and Plaintiff never

instructed Credit Acceptance to stop calling the (313) 957-XXXX telephone

number.

      11.   Credit Acceptance’s alleged liability to Plaintiff is solely derivative of

Third-Party Defendant’s actions in that she authorized Credit Acceptance to call

the (313) 957-XXXX telephone number to contact her regarding the RIC as a

purported customary user of the (313) 957-XXXX telephone number.

      12.   The damages Plaintiff alleges in her Complaint, if any, are a direct

result of Third-Party Defendant’s acts or omissions.
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      13.   Credit Acceptance is without fault in causing Plaintiff’s alleged

damages.

      14.   If Plaintiff is awarded any sums, including any damages, costs or

attorneys’ fees against Credit Acceptance, then any such liability on the part of

Credit Acceptance results from the acts or omissions of Third-Party Defendant.

      15.   Accordingly, Third-Party Defendant should be held to indemnify

Credit Acceptance for all amounts for which Credit Acceptance may be liable to

Plaintiff, including any damages, costs, attorneys’ fees, or any other sums Credit

Acceptance is assessed, as well as to pay for the costs and fees incurred by Credit

Acceptance in defending Plaintiff’s lawsuit and costs and fees incurred in pursuing

indemnification from Third-Party Defendant.

                             COUNT TWO – Fraud

      16.   Credit Acceptance re-alleges and incorporates by reference each of

the previous paragraphs.

      17.   Having valid and legal contact information for Third-Party Defendant

is material to Credit Acceptance under the RIC.

      18.   Third-Party Defendant warranted, promised and represented that she

was an authorized and customary user of the (313) 957-XXXX telephone number.

      19.   Third-Party Defendant gave Credit Acceptance express consent to

contact her at the (313) 957-XXXX telephone number.
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      20.   Accordingly, Plaintiff can only prevail in her claims under the TCPA

if Third-Party Defendant’s representation to Credit Acceptance was false and

Third-Party Defendant was not capable of expressing consent as a called party at

the (313) 957-XXXX telephone number.

      21.   Assuming Plaintiff’s allegations are true, Third-Party Defendant knew

or should have known that she was not an authorized and customary user of the

(313) 957-XXXX telephone number.

      22.   Assuming Plaintiff’s allegations are true, Third-Party Defendant

provided the (313) 957-XXXX telephone number for the express purpose of

serving as a valid number for Credit Acceptance’s future communication with

Third-Party Defendant regarding the RIC.

      23.   Assuming Plaintiff’s allegations are true, Third-Party Defendant

intended for Credit Acceptance to use the (313) 957-XXXX telephone number for

that purpose.

      24.   Assuming Plaintiff’s allegations are true, Credit Acceptance was

unaware that Third-Party Defendant was not an authorized and customary user of

the (313) 957-XXXX telephone number.

      25.   Credit    Acceptance’s   reliance   on    Third-Party    Defendant’s

representations was reasonable.
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      26.    If Plaintiff prevails under the TCPA allegations in the Complaint, any

damages awarded, including costs and reasonable attorneys’ fees, will be the result

of Credit Acceptance’s reasonable reliance on Third-Party Defendant’s

misrepresentations regarding the (313) 957-XXXX telephone number.

      27.    Accordingly, Third-Party Defendant should be held liable for any and

all damages awarded Plaintiff under the TCPA, including any costs and attorneys’

fees assessed against Credit Acceptance.

                   COUNT THREE – Fraudulent Misrepresentation

      28.    Credit Acceptance re-alleges and incorporates by reference each of

the previous paragraphs.

      29.    Third-Party Defendant, in the course of business with Credit

Acceptance under the RIC, falsely represented that she was an authorized and

customary user of the (313) 957-XXXX telephone number capable of expressing

consent as a called party under the TCPA.

      30.    Third-Party Defendant knew that this representation was false when it

was made or made it recklessly, without knowledge of its truth and as a positive

assertion.

      31.    Third-Party Defendant intended that Credit Acceptance would rely on

this representation.
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      32.    Credit Acceptance’s subsequent reliance on Third-Party Defendant’s

representations was both reasonable and foreseeable.

      33.    If Plaintiff prevails under the TCPA allegations in the Complaint, any

damages awarded, including costs and reasonable attorneys’ fees, will be the result

of Credit Acceptance’s reliance on Third-Party Defendant’s fraudulent

misrepresentation regarding the (313) 957-XXXX telephone number.

      34.    Accordingly, Third-Party Defendant should be held liable for any and

all damages awarded Plaintiff under the TCPA, including any costs and attorneys’

fees assessed against Credit Acceptance.

                 COUNT FOUR – Negligent Misrepresentation

      35.    Credit Acceptance re-alleges and incorporates by reference each of

the previous paragraphs.

      36.    Third-Party Defendant, in the course of business with Credit

Acceptance under the RIC, falsely represented that she was an authorized and

customary user of the (313) 957-XXXX telephone number capable of expressing

consent as a called party under the TCPA.

      37.    Third-Party Defendant could reasonably foresee, that Credit

Acceptance would rely on the (313) 957-XXXX telephone number to contact her

about the RIC in the future.
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      38.     Third-Party Defendant—who owed Credit Acceptance a duty of care

to, at least, provide truthful information—failed to exercise or breached that duty

of care by providing Credit Acceptance a number over which she was not an

authorized and customary user, exposing Credit Acceptance to statutory liability

under the TCPA, if Plaintiff’s allegations are true.

      39.     Credit    Acceptance’s     reliance      on   Third-Party   Defendant’s

representations was both reasonable and foreseeable.

      40.     If Plaintiff prevails under the TCPA allegations in the Complaint, any

damages awarded, including costs and reasonable attorneys’ fees, will be the result

of   Credit   Acceptance’s    reliance   on   Third-Party     Defendant’s    negligent

misrepresentation regarding the (313) 957-XXXX telephone number.

      41.     Accordingly, Third-Party Defendant should be held liable for any and

all damages awarded Plaintiff under the TCPA, including any costs and attorneys’

fees assessed against Credit Acceptance.

                       COUNT FIVE – Innocent Misrepresentation

      42.     Credit Acceptance re-alleges and incorporates by reference each of

the previous paragraphs.

      43.     Third-Party Defendant, in the course of business with Credit

Acceptance under the RIC, innocently, but falsely, represented that she was an
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authorized and customary user of the (313) 957-XXXX telephone number capable

of expressing consent as a called party under the TCPA.

      44.     This representation was false in fact.

      45.     Credit Acceptance was actually deceived by Third-Party Defendant’s

representation.

      46.     Credit   Acceptance’s       reliance     on   Third-Party   Defendant’s

representation was both reasonable and foreseeable.

      47.     If Plaintiff prevails under the TCPA allegations in the Complaint, any

damages awarded, including costs and reasonable attorneys’ fees, will be the result

of   Credit   Acceptance’s     reliance    on   Third-Party    Defendant’s    innocent

misrepresentation regarding the (313) 957-XXXX telephone number.

      48.     Accordingly, Third-Party Defendant should be held liable for any and

all damages awarded Plaintiff under the TCPA, including any costs and attorneys’

fees assessed against Credit Acceptance.

                        COUNT SIX – Breach of Contract

      49.     Credit Acceptance re-alleges and incorporates paragraphs 1–36 above.

      50.     On or about April 4, 2014, Third-Party Defendant entered into the

RIC (subsequently assigned to Credit Acceptance) to purchase and finance the

purchase of an automobile. On the same date, they also signed and submitted a

Credit Application to Credit Acceptance in connection with the RIC.
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      51.    By signing the Credit Application, Third-Party Defendant authorized

and gave her consent to Credit Acceptance to communicate with her for any

purpose whatsoever including to collect debt obligations by making calls to the

cellular telephone numbers that Credit Acceptance had or would in the future

obtain, and specifically acknowledged that “[t]his authorization includes consent

for Credit Acceptance to make calls to any of my current or future cellular

telephone numbers using any automatic telephone dialing systems or artificial or

prerecorded voice.”2

      52.    Specifically, Third-Party Defendant agreed to the following material

terms in the “Email and Cellular Communication Consent” provisions set forth

above her signature line on the Credit Application:

             **Email and Cellular Communications Consent: By
             signing below I authorize and give consent to Credit
             Acceptance to use the email address and cellular
             telephone numbers I have provided on this application or
             which Credit Acceptance obtains to communicate with
             me for any purpose whatsoever… By providing a cellular
             telephone number on this application or to Credit
             Acceptance after my contract is assigned to them, I am
             consenting to receiving autodialed and artificial or
             prerecorded message calls from Credit Acceptance . . . .




      2
         Upon information and belief, Plaintiff and Third-Party Defendant have a copy of
the Credit Application.
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      53.     If and to the extent that it is determined that Third-Party Defendant

was not an authorized and customary user of the (313) 957-XXXX telephone

number, then Third-Party Defendant materially breached her agreement with

Credit Acceptance by providing the (313) 957-XXXX telephone number to Credit

Acceptance.

      54.     The damages Plaintiff alleges in her Complaint, if any, are a direct

result of Third-Party Defendant’s breach of the above materials terms of the Credit

Application and RIC with Credit Acceptance.

      55.     Should Plaintiff be awarded any sums, including any damages, costs

or attorneys’ fees against Credit Acceptance, any such liability on the part of

Credit Acceptance results from Third-Party Defendant’s breach of contract.

      56.     Accordingly, Credit Acceptance demands as contract damages from

Third-Party Defendant all amounts for which Credit Acceptance may be liable to

Plaintiff, including any damages, costs, attorneys’ fees, or any other sums Credit

Acceptance is assessed, as well as to pay for the costs and fees incurred by Credit

Acceptance in defending Plaintiff’s lawsuit and costs and fees incurred in pursuing

indemnification from Third-Party Defendant.

      WHEREFORE, should Plaintiff prevail against Credit Acceptance, it seeks

judgment against Third-Party Defendant for any sums it is required to pay as well

as for its costs and attorneys’ fees in defending against this litigation.
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                                    Respectfully Submitted,


                                    By: /s/Stephen W. King
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Dated: October 2, 2015                sking@kingandmurray.com
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                          CERTIFICATE OF SERVICE

      I hereby certify that on October 2, 2015, I served Defendant Credit

Acceptance Corporation’s Answer, Affirmative Defenses and Third-Party

Complaint upon all the parties in the above case by electronically serving the

attorneys of record at the email addresses listed in the caption.


                                 By: /s/Stephen W. King
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